
PER CURIAM
*425In this appeal, appellant seeks reversal of a judgment committing him to the Mental Health Division for a period not to exceed 180 days. See ORS 426.130. He contends, in an unpreserved assignment of error, that the judgment should be reversed because the trial court failed to inform him, as required by ORS 426.100(1)(c), of some of the possible results of the hearing. The state concedes the error, and we agree that the court's failure to fully comply with ORS 426.100(1) constitutes plain error. See State v. Ritzman , 192 Or. App. 296, 298-99, 84 P.3d 1129 (2004) (failure to advise a person directly regarding the rights listed in ORS 426.100(1) or conduct an examination on the record to determine whether a valid waiver of the right to be advised has been knowingly and voluntarily made is plain error). We further conclude that it is appropriate to exercise our discretion to correct the error for the reasons stated in State v. M. L. R. , 256 Or. App. 566, 570-72, 303 P.3d 954 (2013) (nature of the civil commitment proceedings, the gravity of the violation, the ends of justice, and the lack of harmless error).1
Reversed.

Our disposition obviates the need to address appellant's other assignment of error.

